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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

CHERIE LINDBERG,
Plaintiff,
v. No. 03-2543 B
UT MEDICAL GROUP, INC., and
UT MEDICAL GROUP MEDICAL
AND DENTAL GROUP BENEFIT PLAN,

Defendants.

  

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ORDER GRANTING PLAINTIFF'S MOTION FOR AWARD OF

ATTORNEY'S FEES AND COSTS

 

Before the Court is the motion of the Plaintiff, Cherie Lindberg, for an award of attorney's

fees and costs, pursuant to 29 U.S.C. § ll32(g)(l), Employee Retirement Income Security Act of

1974, as amended ("ERISA"), incurred in bringing this action. The statute provides that "[i]n any

action under [ERISA] by a participant, beneficiary, or tiduciary, the court in its discretion may allow

a reasonable attorney's fee and costs of action to either party.“ 29 U.S.C. § ll32(g)(l). The Sixth

Circuit "has held that when a district court exercises its discretion in awarding attorney fees under

ERISA, it should consider five factors:

(l) the degree of the opposing party‘s culpability or bad faith; (2) the opposing party's
ability to satisfy an award of attorney's fees; (3) the deterrent effect of an award on
other persons under similar circumstances; (4) whether the party requesting fees
sought to confer a common benefit on all participants and beneficiaries of an ERISA
plan or resolve significant legal questions regarding ERISA; and (5) the relative

merits of the parties' positionsl

Gettings v. Building Laborers Local 310 Fringe Benefits Fund, 349 F.3d 300, 3 l() (6th Cir. 2003);

g also Hoover v. Provident Life & Accident lns. Co.1 290 F.3d 801, 809 (6th Cir. 2002). No one

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factor is determinative but the court should consider each before rendering its decision. Wells v.

U.S. Steel, 76 F.3d 731, 736 (6th Cir. 1996); Bertram v. Nutone lnc., No. C-l-99-218, 2001 WL

 

1397325, at *1 (S.D. Ohio Mar. 19, 2001). In making a fee award, the "district court must provide
a clear and concise explanation of its reasons." Q:Eing§, 349 F.3d at 309 (quoting Adcock-Ladd v.
Secretaiy of Treasury, 227 F.3d 343, 349 (6th Cir. 2000)).

In January 2003, the Plaintiff` was diagnosed with recurrent mantle cell lymphoma. At that
time, she was employed by UT Medical Group ("UTMG") and was a participant in the UT Medical
Group, Medical and Dental Group Benefit Plan (the "Plan"), an employee benefit plan covered by
ERISA. The course of treatment prescribed by Dr. Lee Schwartzberg, her treating physician at the
West Clinic in Memphis, Tennessee, called for a preparatory regimen of chemotherapy, high dose
chemotherapy, followed by bone marrow transplantation ("HDC/BMT"), to be administered at MD
Anderson Cancer Center ("MD Anderson") in Houston, Texas. Beech Street Coiporation, a medical
necessity review corporation that provided hospital pre-certification services for UTMG pursuant
to a contract, issued a pre-certification letter for admission to MD Anderson for ten days. (Mem. in
Supp. ofMot. for an Award of Att‘y's Fees and Costs, Ex. l.) Lindberg commenced the initial stages
of therapy, Which continued for some three months.

Durin g this period, the Defendant amended its Plan, changing its definition of "experimental
or investigational." The amendment ("Amendment No. 9") provided that a drug, deviee, medical
treatment or procedure is experimental/investigative “[i]f reliable evidence shows that the drug,
device, or medical treatment or procedure is the subject of ongoing Phase l, ll, or III clinical trials
or under study to determine its maximum tolerated dose, its toxicity, its safety, its efficacy or its

efficacy as compared with the standard means of treatment or diagnosis." Amendment No. 9, made

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retroactive to January l, 2003, was, the Plaintiff argues, designed to preclude coverage of her
treatment

On May 15, 2003, the UTMG‘s third party administrator, lnsurex Benefits Administrators
("Insurex"), received a letter from HCC Benefits Corporation, the Plan's stop loss policy carrier, that
"the proposed non-myeloablative allogeneic stem cell transplant using the protocol 'Phase ll study
of nonab]ative allogeneic blood stern cell transplantation for patients with lymphoid malignancies'
is considered experimental/investigative . . . and would not be reimbursable." (Mem. in Supp. of
Mot. for an Award of Att‘y's Fees and Costs, Ex. 2.) The basis for the opinion was the language of
the stop loss policy, Which was virtually identical to the language of Amendment No. 9. The
decision was based on the conclusion that "nonmyeloablative allogeneic bone marrow
transplantation is still the subj ect of ongoing Phase 1 and ll clinical trials and is still under study to
detennine" its effectiveness in treating mantle cell lymphoma; that "the consensus among experts
regarding nonmyeloablative allogeneic bone marrow transplantation is that further studies or clinical
trials are necessary; and that the "addition of Redesign to a nonmyeloablative alloBMT regimen is
novel." (Admin. R. at 001 12 ~ 00113.)

The same day, an external medical review organization, ProPeer Resources, lnc., notified
lnsurex in response to its request that "[t]he recommendations given to this patient for a mini-
transplant are precisely what we would have recommended as the best available therapy for her
condition. A stem cell transplantation is a covered benefit, l would recommend approval and
proceeding to transplantation as soon as possible." (Mem. in Supp. of Mot. for an Award of Att'y's
Fees and Costs, Ex. 3.) With respect to this particular communication, the Defendants point out that

ProPeer did not specifically address the Plan language or whether the procedure should be

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considered experimental/investigative as had been requested by lnsurex. However, the ProPeer form
memorializing the request of lnsurex for a review of Lindberg‘s proposed treatment, dated May 9,
2003, clearly indicated that the "PLAN DOCUMENT [was] ATTACHED." (Pl.'s Reply to Defs.'
Resp. to Pl.'s Mot. for an Award of Att'y's Fees and Costs, Ex. 8.) Moreover, an addendum to the
ProPeer medical review, dated May 28, 2003, stated that "This treatment is standard of care and not
considered experimental." (Pl.'s Reply to Defs.‘ Resp. to Pl.'s Mot. for an Award of Att'y's Fees and
Costs, Ex. 8.) Nonetheless, lnsurex issued a letter to MD Anderson on May 15, 2003 advising that,
based upon its review of the medical information and treatment protocol, along with its identification
as a “Phase 11 study," the transplant would not be covered as it was experimental/investigative.
(Mem. in Supp. of Mot. for an Award of Att‘y's Fees and Costs, Ex. 4.)

The Plaintiff thereupon left MD Anderson and returned to Memphis without completing the
course of treatment prescribed She was referred by Dr. Schwartzberg to Dr. Donna Przepiorka at
the University of Tennessee Cancer lnstitute for a second opinion on the medical appropriateness
of the HDC/BMT treatment On July l, 2003, Dr. Przepiorka advised Lindberg‘s physician that

. . we strongly recommend allogeneic blood stem cell transplantation for Ms.

Lindberg at this time. There is a substantial track record for long-term disease

control for low- grade lymphomas utilizing allogeneic blood stem cell transplantation.

The combination of fludarabine, cyclophosphamide and Rituxen is now considered

the standard for this type of lymphoma. None of these medications are experimenta],

and all are indicated for use with this diseasel

We strongly recommend that Ms. Lindberg proceed to allogeneic transplantation as
soon as possible . . .

(Mem. in Supp. ofl\/Iot. for an Award of Att'y‘s Fees and Costs, Ex. 5.) This action was initiated on
.luly 24, 2003.

On August 22, 2003, ProPeer issued another opinion, stating at the outset that "[i]t has been

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requested to review these treatments for the medical necessity of an allogeneic stem cell transplant,
as well as whether services are considered to be standard and generally accepted for this diagnosis
and whether the procedure drug, or device is investigational Plan language has been submitted for
review.." (Admin. R. at 00458.) lt was determined that “[u]nder the term of plan language [sic] this
is clearly an investigational, experimental treatment as defined by the plans [sic] language " (Admin.
R. at 00458.)

On October 15, 2003, Magistrate lodge Tu M. Pham ordered the deposition of Dr. Przepiorka
and the Plaintiff‘s motion for preliminary injunction was heard by this Court on November 5. On
December 9, 2003 , the Court entered an order holding the preliminary injunction motion in abeyance
and remanding the matter to the Plan administrator. w Order Holding Pl.'s Mot. for Prelim. lnj.
in Abeyance and Remanding to the Plan Admin. According to the Defendants, Lindberg resubmitted
her claim for benefits for a Phase ll nonmyeloablative allogeneic blood stem cell transplant to be
performed by Dr. Khouri at MD Anderson. Pursuant to his affidavit, Dr. Jeffrey Woodside,
executive vice president and chief medical officer of Lindberg's employer, was appointed to a special
committee to reconsider the claim. He explained that

[a]s a member of this Committee, [he] reviewed Ms. Lindberg‘s request for a Phase

ll nonmyeloablative allogeneic stem cell transplant proposed by Dr. Khouri of MD

Anderson . . . on April 21, 2003 (the "original treatment"). The original treatment

protocol was a Phase ll clinical trial to determine maximum tolerated dose, toxicity,

safety, its efficacy, or its efficacy as compared with the standard means of treatment

or diagnosis There were no Phase ll studies at that time to support the use of

nonmyeloablative therapy and therefore, the original treatment Was considered

experimentai/investigational.

The Committee carefully considered each of the issues presented in this Court's

Order of December 9, 2003, as well as all evidence submitted by Plaintiff in her

request for resubmission, Which included evidence not previously considered, and
determined that its first conclusion to deny the benefit claim as

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experiinental/investigational was reasonable, and tlierefore, not arbitrary and
capricious

(Defs.' Resp. to Pl.'s Mot. for an Award of Att'y's F ces and Costs, Ex. A (Af`f. of Jeffrey Woodside,

M.D. at 1111 2-3.)

Coverage was once more denied on December 24, 2003, again based on the treatment's
characterization as "experimental." (Mem. in Supp. of Mot. for an Award of Att'y's Fees and Costs,
Ex. 7.) The decision Was dependent in part on an independent medical review conducted by Dr. Skip
Freedman, of AllMed Healthcare Management in Portland, Oregon, who concluded that
"[m]yeloablative transplant would not be experimental or investigational, whereas a
nonmyeloablative transplant is."1 (Mem. in Supp. of Mot. for an Award of Att'y‘s Fees and Costs,

Ex. 7.) ln support of his decision, Dr. Freedman referenced an August 5 , 2003 publication by Dr.

 

lThe Plaintiff has questioned the efficacy of the Alll\/led opinions The opinions include a
box titled "Physician Review." The language therein begins with a statement in bold type
"Reviewed by a Board Certified Hematologist/Oncologist" and continues with the reviewing
physician's opinion, set out in the first person. Directly under the Physician's Review box is a
signature line for Dr. Freedman and a space for the date. No other physician's name appears
anywhere on the forrn. lt has been charged by the Plaintiff that Dr. Freedman is neither a
hematologist nor an oncologist, but, rather, a specialist in emergency medicine. ln her third
supplemental affidavit, Wanda King, lnsurex's vice president of operations, stated that "[n] one of
the medical reviews performed on December 17, 18, or 19, 2003 were authored by Dr. Skip
Freedman. Rather, all reviews were performed by a Board certified hematologist/oncologist.
Attached as collective Exhibit 2 is the correspondence l received from Alll\/led confirming this
fact, as well as the review physician's credentials and the three Alll\/led reviews from December
2003." (Third Supplemental Aff. of Wanda King at 1[1[ 6-7.) Exhibit 2 consists of a form on
AllMed letterhead captioned "Specialty Panel lnformation," listing "Medical Oncology" as the
specialty area, Board status as Medical Oncology 1981 and American Board of lnternal l\/ledicine
1978, and Alll\/led Peer Reviewer experience from 2002 to the present Interestingly, the form
does not name an individual to Whom the information refers. The only remaining documents
encompassing Exhibit 2 are the AllMed opinions of December 17, 18 and 19, 2003 signed by Dr.
Freedman. ln any case, the Court finds it somewhat disturbing that the Defendants, even in their
response to the motion for attorney's fees, still have riot identified the "Board certified
hematologist/oncologist" who they claim performed the review.

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Robert S. Negrin, director of the bone marrow transplant program at Stanford University. (L) ln
February 2004, Lindberg obtained an affidavit from Dr. Negrin in which he stated that the
publication referred to in the denial letter "did not expressly or inferentially assert that the course of
treatment recommended" for the Plaintiff was either experimental or investigative. (Mem. in Supp.
of Mot. for an Award of Att'y‘s Fees and Costs, Ex. 8 at 11 5.) lie further opined that "[t]he proposed
treatment for Ms. Lindberg of non-myeloablative allogeneic hematopoietic cell transplantation is
appropriate and indicated This is based upon her diagnosis of recurrent mantle cell lymphoma with
a history of a prior autologous transplant This treatment represents her best and likely only chance
for achieving long term survival." (Mem. in Supp. of Mot. for an Award of Att'y's Fees and Costs,
Ex. 8 at 11 6.) He stated that

[t]his treatment as proposed should certainly be viewed as a covered benefit based
upon the definition of "experimental/investigative" since the Plan explicitly covers
bone marrow transplantation and the treatment proposed is acceptable medical
practice utilizing standard chemotherapy drugs approved by the FDA.

The attempt to redefine "experimental/investigative" as any patient participating in
any phase l, ll or 111 clinical trials is entirely unreasonable and restrictive This
definition would exclude the vast majority of patients undergoing any form of bone
marrow transplantation and many patients undergoing other types of cancer therapies.
There are circumstances in medicine Where a clinical trial could truly be considered
"experimental." An example would be use of a new drug without prior experience
However, these circumstances are not present here. The chemotherapy drugs to be
used for Ms. Lindberg'S treatment are standard and FDA-approved.

Although there is not a randomized phase 111 clinical trial comparing non-
myeloablative verses [sic] ablative allogeneic transplantation, this does not exclude
non-myeloablative allogeneic transplantation as being accepted medical practice ln
fact, the majority of patients who undergo non-myeloablative allogeneic
transplantation are excluded from being considered for ablative allogeneic
transplantation due to advanced age or other medical considerations such as Ms.
Lindberg.

Ablative allogeneic transplantation is not considered experimental or investigative

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The non-myeloablative procedure posed for Ms. Lindberg is a similar procedure as

myeloablative except with lesser intensity of the preparative regimen. The general

concept of non-myeloablative transplantation should be considered the same as

myeloablative transplantation and represents a change in technique rather than a

change in treatment concept.

(Mem. in Supp. of Mot. for an Award of Att‘y'S Fees and Costs, Ex. 8 at 1111 8-11.)

Plaintiffs counsel noticed the depositions of lnsurex, the administrator and Dr. Freeman.
Shortly thereafter, on February 9, 2004, lnsurex forwarded a letter to Dr. Przepiorka stating that "we
are approving your Pre-Service claim for Cherie Lindberg for allogeneic stern cell transplantation
using standard nonmyeloablative regimen at the University of Tennessee Cancer lnstitute as
requested . . . Benefits will be paid according to Organ Transplant global rates including facility and
medical oncologist professional services . . ." (Mem. in Supp. of Mot. for an Award of Att'y's Fees
and Costs, Ex. 9.) The Plaintiff‘s treatment then resumed. The treatment approved in the February
9, 2004 letter is the same protocol recommended by Dr. Przepiorka after her initial consultation
(Mem. in Supp. of Mot. for an Award of Att'y's Fees and Costs, Ex. 10, Aff. of Donna Przepiorka

at 1111 3, 5.) ln her deposition, Dr. Przepiorka testified as follows:

Q: ln your opinion, was the course of treatment at MD Anderson
considered a "clinical trial."

A: The patient was to be treated on a clinical trial. The course of
treatment itself could be performed outside the setting of a clinical
trial.

Q: The title of this protocol (the course of treatment recommended by

West Clinic to be conducted then at MD Anderson) is a Phase ll study
of Nonablative Allogeneic Blood Stem Cell Transplantation for
patients with Lymphoid Malignancies. ls there any question that the
protocol recommended by MD Anderson to be performed on Cherie
Lindberg is the subject of an orr-going Phase 11 clinical trial?

A: lf she were treated on that protocol, it Would be a Phase ll trial, but

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that same treatment can be given without her participation in the trial.
Q: . . . Ibelieve you said ifthe protocol . . . was utilized, it would be one

thing, but it could be given where it would not be that thing. Could
you straighten me out on that‘?

A: Yes. Absolutely. l understand completely and it goes back to the
language regarding What is research. And again, research is
considered collection of data regarding human subjects. And what
has been approved here is not that MD Anderson can treat the patient
in this fashion, but actually that they will treat a series of patients and
collect information on how those patients did for the purpose of
generalizing that information to the public. But the very same
treatment could be utilized by them at that institution outside the
setting of a clinical trial for the exact same patient

Q: And if they weren't collecting the data, then it would be considered a
Phase H?

A: No, it would be considered just treatment
Q: Allright. So if this treatment regimen that is reflected on this
protocol, again, if that's accurate~-correct me if l'm wrong--that could
be given outside of a collection of data situation?
A: Absolutely.
Q: Would it be exactly the same course of treatment?
A: Yes it would.
(Dep. of Dr. Przepiorka at 10-11, 37, 41-42.)
The Defendants take exception, however, to the picture painted by the Plaintiff suggesting
the clogged pursuit of a course of action designed to deny payment in spite of medical evidence
supporting coverage. According to the Defendants, Lindberg resubmitted her benefits claim on

December 15, 2003, in which she requested that reconsideration be conducted under the urgent

review procedure, which gave the Defendants 72 hours to complete their review, and that

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consideration be made by the Plan's board of directors The Defendants immediately sought an
independent medical review in order to be in compliance with ERlSA. They were notified on
December 16, 2003 that the initial reviewer, Medical Review lnstitute of America, could not
complete the review. (Third Supplemental Aff. of Wanda King at 11 2.) On the same day, lnsurex
requested of AllMed an expedited peer specialty review, including a complete packet of information
on Ms. Lindberg‘s claim containing the Plan documents clinical notes from MD Anderson, and
letters from her physicians (Third Supplemental Aff. of Wanda King at 11 3.) On December 17,
2003, lnsurex received notification from Al]l\/led that the proposed treatment was considered
experimental/investigational and, thus, did not comport with the Plan language (Third
Supplemental Aff. of Wanda King at 11 4.) AllMed confirmed in addenda dated December 18 and
19, 2003, that it had, in making its determination, reviewed the Plan language in its entirety, both
before and after Amendment No. 9. (Third Supplemental Aff. of Wanda King at 1111 5-6.) The
Defendants then appointed a special committee, which included two physicians to reconsider the
claim taking into account all of the documentation presented from the original claim, pursuant to the
Court's order, through the resubmission process Again the claim was denied.

ln late lanuary 2004, the Plaintiff requested approval through Dr. Przepiorka of an allogeneic
stem cell transplantation using a standard nonmyeloablative regimen, This study, the Defendants
insist, was the first treatment request made on Lindberg‘s behalf that was outside a Phase ll study.
(Third Supplemental Aff. of Wanda King at 11 8.) The Defendants allege in their motion papers that
"[d]espite Plaintiff‘s awareness since the deposition of Dr. Przepiorka on October 15, 2003 that a
similar treatment to the treatment proposed by MD Anderson might be available outside a Phase ll

study protocol, Plaintiff failed to submit any new treatment plan until this time, and continued to

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move forward with litigation." (Defs.' Resp. to Pl.'s Mot. for an Award of Att'y's Fees and Costs at
8 .) On January28, 2004, lnsurex received the independent medical review ofAlll\/led indicating that
the new protocol was not experimental. (Third Supplemental Aff. of Wanda King at Ex. 5.)
Specifically, the review articulated that the allogeneic HSCT (nonmyeloablative) treatment requested
was "NOT experimental or investigational" and that "[a]llogeneic HSCT is the only therapeutic
modality which can be administered with a curative intent Nonmyeloablative HSCT employs
adaptive immunotherapy . . . rather than dose intense chemotherapy, as in an ablative transplant."
(Third Supplemental Aff. of Wanda King at Ex. 5.) An addendum to the review was issued on
February 5 , 2004, continuing the earlier opinion and reflecting that "the donor mobilization
schedule, the evaluation of the allogeneic donor, CT scans of chest and pelvis/abdomen, treatment
plans employing Fludarabine/Cytoxan and standard orders for various prophylaxes" had been
reviewed (Third Supplemental Aff. of Wanda King at Ex. 6.) Based on the review, the Plaintiff
was notified by lnsurex on February 9, 2004 that the transplant was approved In their response to
the instant motion, it is the position of the Defendants that "they do not deny that the treatment
originally sought by Plaintiff in this lawsuit is similar to the treatment she is now receiving from Dr.
Przepiorka at UT Cancer institute However, the fact remains that the treatment originally sought
was under a Phase ll study, and utilized protocol at MD Anderson in Houston, Texas, whereas the
newly approved treatment is not under a Phase ll study, and utilizes a standard treatment regimen
at UT Cancer lnstitute." (Defs.' Resp. to Pl.'s l\/lot for an Award of Att'y‘s Fees and Costs at 25-26.)

At this point, the Court will consider the five factors seriatim. As to the first, the Court finds
that the Defendants' conduct was, if not in bad faith, highly culpable based on their consistent pattern

of seizing on opinions recommending against coverage made by medical reviewers who never saw

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Ms. Lindberg and whose conclusions at least in AllMeds' case, were arguably based on questionable
grounds, while completely discounting, without explanation, the statements and records of her
physicians A finding of high culpability is sufficient to establish the first factor even absent bad
faith. § H_oLer, 290 F.3d at 810 (district court's conclusion that first element satisfied when
insurer's culpability was high even without bad faith not an abuse of discretion); Crosby v. Bowater
Inc. Ret. Plan for Salaried Employees of Great Northern Paper, lnc., 262 F.Supp.2d 804, 81 l-12
(W.D. Mich. 2003) (culpability with respect to the first factor sufficient where there exists "the
taking of positions which on their face are unreasonable and can be defended only by a sophist‘s
resort to linguistic sleight-of-hand.“).

The second factor also militates to the benefit of the Plaintiff as there is nothing to suggest
that the Defendants are incapable of satisfying the fee award. The only grounds offered by the
Defendants as to their inability to pay attorney's fees is a rather disingenuous one under the
circumstances-that is, having to pay for Ms. Lindberg‘s treatment and their own attorney's fees has
left them "financially strapped." The deterrent effect of such an award--the third factor--falls on the
side of the Plaintiff as well. Based on its finding as to the first factor, the Court recognizes the
importance of deterring the Defendants in particular and similarly situated employers in general from
denying for economic reasons valid claims of severely ill employees especially where the spectre
of death looms large without timelytreatment. §§Be_rtrjmi_, 2001 WL 1397325, at *3 ("A fee award
is justified in order to deter other employers or Plan administrators from" treating employees unfairly
for their own benefit). The fourth factor weighs in favor of Lindberg as, even if she did not pursue
this case with the intent of benefitting others, her initiation of this action has had the effect of

conferring a common benefit on other participants of the Plan by encouraging her employer, as well

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as others, to view claims in a more evenhanded manner. See Holford v, Exhibit Design Consultants.

 

218 F.Supp.2d 901, 910 (W.D. Mich. 2002) (“Whether this was Plaintiff‘s intent or not (the Court
expects that she probably acted mostly out of self-interest), she has conferred an important common
benefit on participants--i.e., she has forced her former employer into general COBRA compliance ").
Finally, the Court finds that the merits of the parties' positions also tip the scale toward the Plaintiff,
illustrated in no small measure by the Defendants' change of position as to coverage following the
Court's remand

ln accordance with the Court's finding that an award of attorney's fees is appropriate the next
question to be addressed is the appropriate amount of the award Counsel for the Plaintiff seeks
$`113,827.53 in fees, based on hourly rates Of $275.00, $l40.00 and $85.00, along with 367.89 in
costs. "[A]n award of attorney fees must be reasonable as determined under the lodestar approach
The United States Supreme Court has explained that in applying this approach, 'the most useful
starting point is the number of hours reasonably expended on the litigation multiplied by a
reasonable hourly rate.'" Jordan v. Michiaan Conference of Teamsters Welfare Fund, No. 96-73 l 13,
2000 WL 3 3321350, at *5 (E.D. Mich. Sept. 28, 2000) (quoting Hensley v. Eckerhart, 461 U.S. 424,
433 (1983)). The reasonableness of the hourly rate sought is determined based upon the "prevailing
market rates in the relevant community." l_d

Even though the fee request is rather large, the Defendants do not contest the amount of fees
sought or the hourly rate charged2 Thus, the Court finds that $l 13,827. 53 is the appropriate lodestar

amount Nor do the Defendants argue in favor of a reduction of the fees or costs requested

 

2lt is also worth noting here that the Defendants advised the Court in their response to the
motion for attorney's fees that their legal fees incurred in this matter were very near those spent
by the Plaintiff.

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Therefore, as there is no opposition to the requested amount, and as the Plaintiff has obtained the
relief she sought, counsel for the Plaintiff is hereby awarded attorney's fees and costs in the amount
of$l 13,895.42. _SL_Bgrti_‘a_m, 2001 WL 1397325, at *2 ("Where the plaintiffhas obtained 'excellent
results,' his attorney should ordinarily recover a fully compensatory fee" (citing _HMs_l§y, 461 U.S.
at 43 5)).

iris so oRDERED this ;__L:Bday orAprii, 2005.

 

J1DAY1EL BREEN
D STATES DlSTRlCT lUDGE

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Ul\llTED STATES DlSTRlC= COURT- WESTERl\l DlSTRlCT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 89 in
case 2:03-CV-02543 was distributed by fax, mail, or direct printing on
April 28, 2005 to the parties listed

 

 

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Honorable .l. Breen
US DlSTRlCT COURT

